Case 24-10901        Doc 35-13    Filed 10/28/24    Entered 10/28/24 20:07:40        Page 1 of 35




                                 FORBEARANCE AGREEMENT

This Forbearance Agreement (“Agreement”), dated as of August ____,    29 2024, is made by and
among Crown Capital Holdings LLC, a Delaware limited liability company (the “Issuer”), CBRM
Realty Inc., a New York corporation (the “Parent Guarantor”), the Subsidiary Guarantors named
on Schedule A and on the signature pages hereto (collectively, the “Subsidiary Guarantors” and,
collectively with the Parent Guarantor, the “Guarantors” and the Guarantors, collectively with the
Issuer, the “Transaction Entities”), and certain Purchasers (as defined in the Note Purchase
Agreements defined below) set forth on the signature pages hereto.
                                           RECITALS

        WHEREAS, the Transaction Entities issued financial obligations to the Purchasers
pursuant to (i) a certain Note Purchase Agreement dated as of June 1, 2022 (as amended, amended
and restated, supplemented, or otherwise modified from time to time in accordance with its
provisions, the “6.75% Senior Unsecured Note Purchase Agreement”) pursuant to which
certain of the Purchasers purchased 6.75% Senior Unsecured Notes due 2027 issued by the Issuer
(the “6.75% Senior Unsecured Notes”); (ii) a certain Note Purchase Agreement dated as of June
1, 2022 (as amended, amended and restated, supplemented, or otherwise modified from time to
time in accordance with its provisions, the “8.00% Senior Unsecured Note Purchase
Agreement”) pursuant to which certain of the Purchasers purchased 8.00% Senior Unsecured
Notes due 2025 issued by the Issuer (the “8.00% Senior Unsecured Notes”); and (iii) a certain
Note Purchase Agreement dated as of December 28, 2022 (as amended, amended and restated,
supplemented, or otherwise modified from time to time in accordance with its provisions, the
“12.50% Social Senior Unsecured Note Purchase Agreement”, and collectively with the 6.75%
Senior Unsecured Note Purchase Agreement and the 8.00% Senior Unsecured Note Purchase
Agreement, the “Note Purchase Agreements”, and each a “Note Purchase Agreement”)
pursuant to which certain of the Purchasers purchased 12.50% Social Senior Unsecured Notes due
2025 issued by the Issuer (the “12.50% Social Senior Unsecured Notes”, and collectively with
the 6.75% Senior Unsecured Notes and the 8.00% Senior Unsecured Notes, the “Notes”).
Capitalized terms used herein without definition shall have the meanings ascribed thereto in the
Note Purchase Agreements;
         WHEREAS, the undersigned Purchasers constitute Required Holders;
         WHEREAS, the Issuer is in default under each of the Note Purchase Agreements and
Notes;
       WHEREAS, CKD Funding LLC is owed $4,081,638.39, DH1 Holdings LLC is owed the
amount of $1,360,546.13, and CKD Investor Penn LLC has a contingent guarantee of
$26,500,000.00 (together the “Lender”) as detailed in Schedule C.
       WHEREAS, the Transaction Entities have requested that the Required Holders forbear
from exercising their rights and remedies under each of the Note Purchase Agreements; and
       WHEREAS, the Required Holders are willing to forbear from exercising such rights and
remedies for a limited period of time, provided that the Transaction Entities comply with the terms
and conditions of this Agreement.



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                                                                                                  EXHIBIT
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Case 24-10901        Doc 35-13     Filed 10/28/24     Entered 10/28/24 20:07:40          Page 2 of 35




        NOW, THEREFORE, in consideration of the mutual covenants, terms, and conditions set
forth herein, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the parties agree as follows:

      1.     Acknowledgments of the Transaction Entities. The Transaction Entities
acknowledge and agree that:

               1.1     Recitals. The above recitals are true and correct.

               1.2    Defaults. The following Defaults the (“Existing Defaults”) have occurred
and are continuing under the Note Purchase Agreements and the Notes:

                      (a)    Payment Defaults. The issuer has failed to make interest payments
that were due and payable under certain of the Notes;

                        (b)    Financial and Business Information Defaults. The Issuer has failed
to provide all financial and business information as required by Section 7.1 of the Note Purchase
Agreements; and

                         (c)     Officer’s Certificate Defaults. The Issuer has failed to provide the
officer’s certificates certifying compliance with the financial covenants as required by Section 7.2
of the Note Purchase Agreements.

               1.3     NPA Documents. The Note Purchase Agreements, and all other agreements,
instruments, and other documents executed in connection with or relating to the Notes (the “NPA
Documents”) are legal, valid, binding, and enforceable against the Transaction Entities in
accordance with their terms.

              1.4     Obligations. The obligations of the Transaction Entities pursuant to the
Notes are not subject to any setoff, deduction, claim, counterclaim, or defenses of any kind or
character whatsoever.

               1.5    Default Interest Rate. The Default Rate of interest under Section 1.2(c) of
each of the Note Purchase Agreements is in effect as of the earlier of (i) the date calculated pursuant
to a given Note Purchase Agreement, and (ii) the Effective Date of this Agreement. For the
avoidance of doubt, nothing herein shall affect the Transaction Entities’ obligation to pay interest
at the Adjusted Interest Rate as required by Sections 1.2(a) and (b) of the Note Purchase
Agreements.

                1.6    No Waiver of Defaults. Neither this Agreement, nor any actions taken in
accordance with this Agreement or the NPA Documents shall be construed as a waiver of or
consent to the Existing Defaults or any other existing or future Defaults under the NPA Documents,
as to which Purchasers’ rights shall remain reserved.

                1.7    Preservation of Rights and Remedies. On the Termination Date (defined
below), all of Purchasers’ rights and remedies under the NPA Documents and at law and in equity
shall be available without restriction or modification, as if the forbearance had not occurred.


DMS_US.365842454.9
Case 24-10901        Doc 35-13    Filed 10/28/24     Entered 10/28/24 20:07:40         Page 3 of 35




               1.8     Purchaser Conduct. Purchasers have fully and timely performed all of their
obligations and duties in compliance with the NPA Documents and applicable law, and have acted
reasonably, in good faith, and appropriately under the circumstances.

       2.      Required Holders’ Forbearance.

                2.1     Forbearance Period. Subject to compliance by the Transaction Entities with
the terms and conditions of this Agreement, the Required Holders hereby agree to forbear from
exercising their rights and remedies against the Transaction Entities under the NPA Documents
with respect to the Existing Defaults during the period (the “Forbearance Period”) commencing
on the Effective Date (as defined in Section 3) and ending on the earlier to occur of (i) January 14,
2025 and (ii) the date that any Forbearance Default (as defined in Section 9) occurs. The Required
Holders’ forbearance, as provided herein, shall immediately and automatically cease without
notice or further action on the earlier to occur of (i) or (ii) (the “Termination Date”). On and from
the Termination Date, the Purchasers may, in their sole discretion, exercise any and all remedies
available to them under the NPA Documents by reason of the occurrence of any Events of Default
thereunder or the continuation of any Existing Default.

              2.2     Extension of Forbearance Period. In the sole discretion of the Required
Holders, and without obligation, after the Termination Date, they may renew or extend the
Forbearance Period, or grant additional forbearance periods.

                2.3    Scope of Forbearance. During the Forbearance Period, the Required
Holders will not (i) accelerate the maturity of the obligations pursuant to the Notes or initiate
proceedings to collect the obligations pursuant to the Notes; or (ii) initiate or join in filing any
involuntary bankruptcy petition with respect to the Transaction Entities under the Bankruptcy
Code, or otherwise file or participate in any insolvency, reorganization, moratorium, receivership,
or other similar proceedings against the Transaction Entities under the laws of the United States.

       3.      Effective Date. This Agreement shall become effective on the date (the “Effective
Date”) that the parties exchange signature pages.

         4.      Representations and Warranties. Each Transaction Entity represents and warrants
as to itself that all representations and warranties relating to it contained in the NPA Documents
are true and correct as of the Effective Date, except to the extent that such representations and
warranties expressly relate to an earlier date, in which case such representations and warranties
shall have been true and correct in all material respects as of such earlier date. The Transaction
Entities further represent and warrant to the Purchasers as follows:

                4.1    Authorization. The execution, delivery, and performance of this Agreement
are within its corporate power and have been duly authorized by all necessary corporate action.

                4.2    Enforceability. This Agreement constitutes a valid and legally binding
Agreement enforceable against the Transaction Entities in accordance with its terms, subject to the
effects of bankruptcy, insolvency, fraudulent conveyance, and similar laws affecting creditors’
rights generally and to general principles of equity.



DMS_US.365842454.9
Case 24-10901        Doc 35-13    Filed 10/28/24      Entered 10/28/24 20:07:40         Page 4 of 35




                 4.3     No Violation. The execution, delivery, and performance of this Agreement
do not and will not (i) violate any law, regulation, or court order to which the Transaction Entities
are subject; (ii) conflict with the Transaction Entities’ organizational documents; or (iii) result in
the creation or imposition of any lien, security interest, or encumbrance on any property of the
Transaction Entities or any of their subsidiaries, whether now owned or hereafter acquired, other
than liens in favor of the Purchasers.

                4.4    Advice of Counsel. The Transaction Entities have freely and voluntarily
entered into this Agreement with the advice of legal counsel of their choosing, or have knowingly
waived the right to do so.

                4.5    Affiliated Loans. The Transaction Entities do not have any outstanding
loans or other obligations to any Insider or Affiliate (as that term is defined in 11 U.S.C. sec. 101)

                4.6   Information. All documents and information delivered to Purchasers are
true, correct, and complete in all material respects as of the date delivered and as of the Effective
Date.

               4.7     Subsidiary Guarantor. Schedule A is a true and complete list of Subsidiary
Guarantors.

        5.      Covenants. In addition, in order to induce the Purchasers to forbear from the
exercise of their rights and remedies as set forth above, the Transaction Entities hereby covenant
and agree that at all times during the Forbearance Period, unless the Purchasers otherwise consent
in writing, as follows:

               5.1     Reporting of Information.

                       (a)    Financial and Information Reporting. The Transaction Entities shall
promptly provide to the Purchasers, with an ongoing duty to continue to provide and update, the
information requests on Schedule B. Such reporting may be provided by Lynd Management Group
LLC and/or Mr. Kenneth Munkacy pursuant to a separate agreement between the Transaction
Entities, Purchasers, and Lynd Management Group LLC and/or Ken Munkacy.

                     (b)    Other Financial Information. The Transaction Entities each shall
promptly provide to the Purchasers such financial and other information as the Purchasers may
reasonably request.

              5.2    Compliance with NPA Documents. The Transaction Entities shall continue
to perform and observe all covenants, terms, and conditions, and other obligations contained in all
of the NPA Documents and this Agreement, except with respect to the Existing Defaults.

               5.3     Independent Fiduciary. Within 10 calendar days of the Effective Date,
Issuer shall engage, at its own expense, the services of an individual (reasonably satisfactory to
the Required Holders, on terms and conditions satisfactory to Required Holders) to function as an
independent fiduciary (the “Independent Fiduciary”) with authority to make all decisions on behalf
of the Transaction Entities and, through appropriate corporate governance mechanisms, all of the
Transaction Entities (the “Fiduciary Agreement”). The parties expressly agree that Mr. Kenneth

DMS_US.365842454.9
Case 24-10901        Doc 35-13    Filed 10/28/24      Entered 10/28/24 20:07:40         Page 5 of 35




Munkacy is reasonably acceptable to the Purchasers. Any engagement by any of the Transaction
Entities of a manger, operator or the like for the properties and/or assets of any of the Transaction
Entities (specifically including Lynd Management Group LLC (“Lynd”) and any companies
affiliated with him) shall be on terms and conditions similar to other Property Management
Agreements effective as of the date of this Agreement. Property Management Agreements
effective as of the date of this Agreement are satisfactory to the Required Holders.

                5.4      Sale or Encumbrance of Assets/Loans. The Transaction Entities shall not
sell, convey, transfer, assign, lease, abandon, or otherwise dispose of, or grant, pledge or allow the
fixing of any lien, charge, mortgage or any other encumbrance upon, any of its assets, tangible or
intangible (including but not limited to sale, assignment, discount, or other disposition of accounts,
contract rights, chattel paper, or general intangibles with or without recourse), or borrow any
money, whether in a new loan, a new draw on an existing loan, or refinancing, without the
Required Holders’ prior written consent after the Required Holders review of a “sources and uses”
statement with regard to the sale proceeds and such other information as the Required Holders may
reasonably request. Notwithstanding the foregoing, subject to the terms and conditions of the
Fiduciary Agreement, Transaction Entities shall be permitted to borrow one time up to Twenty
Five Million and No/100 Dollars ($25,000,000.00) under a new loan approved by the Independent
Fiduciary (after reviewing all requested financial due diligence and, specifically, a sources and
uses statement) as advised or arranged by Lynd and Concord Summit Capital, which loan may be
secured by the following properties owned by the Transaction Entities: Carmel Brook, Carmel
Spring, Laguna Creek, and Laguna Reserve (together “NOLA-4”), provided that (i) such sums are
used in furtherance of the operation, maintenance, and improvement of the property, or repayment
of senior secured debt, owned by the Transaction Entities (individually or collectively, a
“Stabilization Loan”), (ii) a sources and uses statement is provided to the Required Holders within
14 calendar days before the closing of such Stabilization Loan, and (iii) the funding of the loan is
not in any way connected to or originated by the Lender or those that invest in or are otherwise
affiliated with the Lender.

               5.5     Professional Fees. The Transaction Entities shall pay the professional fees
of the Purchasers as provided in Section 11.12 of this Agreement.

               5.6      Notice of Adverse Claims. If the Transaction Entities shall become aware
that any person or entity is asserting any lien, encumbrance, security interest, or adverse claim
(including any writ, garnishment, judgment, warrant of attachment, execution, or similar process
or any claim of control) against any of them or any of their property which exceeds $100,000 in
value (each, an “Adverse Claim”), they shall promptly notify the Purchasers in writing thereof,
and provide to the Purchasers all documentation and other information it may request regarding
such Adverse Claim. Specifically, and without limiting the forgoing, the Transaction Entities shall
promptly provide, but in no event less than 48 hours after becoming aware of any such activities,
complete information regarding any and all collection activities of Acquiom Agency Services
LLC, the Plaintiff in the lawsuit in the Supreme Court of the State of New York, Country of New
York, Index No. 652265/2024 No. (or any entity acting or purporting to act on its behalf).

              5.7    Payments to Affiliates. The Transactions Entities shall not make any
payments to any insiders or affiliates (as those terms are defined in title 11 of the United States



DMS_US.365842454.9
Case 24-10901        Doc 35-13     Filed 10/28/24      Entered 10/28/24 20:07:40         Page 6 of 35




Code) of any of the Transaction Entities, including Mark Silber and any entities controlled by him,
without the Required Holders’ prior written consent.

               5.8    Maintenance of Computers. The Transaction Entities shall retain
possession of and otherwise maintain their existing computers, hard drives and other information
storage devices. The Independent Fiduciary shall be granted access to all such information and
Mark Silber’s access shall be terminated.

               5.9     Further Assurances. Promptly upon the request of the Purchasers, the
Transaction Entities shall take any and all actions of any kind or nature whatsoever, and execute
and deliver additional documents, that relate to this Agreement and the transactions contemplated
herein.

               5.10 Resolution with the Lender. The Transaction Entities shall not resolve any
loan with the Lender through a deed in lieu of foreclosure or similar process.



        6.       Reaffirmation of Guaranty. Each Guarantor hereby ratifies and reaffirms (i) the
validity, legality, and enforceability of the Guarantee; (ii) that its reaffirmation of the Guarantee is
a material inducement to the Purchasers to enter into this Agreement; and (iii) that its obligations
under the Guarantee shall remain in full force and effect until all the obligations pursuant to the
Notes have been paid in full.

        7.      Release of Claims and Waiver of Defenses. In further consideration of the Required
Holders’ execution of this Agreement, the Transaction Entities, on behalf of themselves and their
successors, assigns, parents, subsidiaries, affiliates, officers, directors, employees, agents, and
attorneys hereby forever, fully, unconditionally and irrevocably waive and release Purchasers and
their successors, assigns, parents, subsidiaries, affiliates, officers, directors, employees, attorneys,
and agents (collectively, the “Releasees”) from any and all claims, liabilities, obligations, debts,
causes of action (whether at law or in equity or otherwise), defenses, counterclaims, setoffs, of any
kind, whether known or unknown, whether liquidated or unliquidated, matured or unmatured,
fixed or contingent, directly or indirectly arising out of, connected with, resulting from, or related
to any act or omission by any Purchaser or any other Releasee with respect to the NPA Documents,
other than any Purchaser’s willful acts or omissions, on or before the date of this Agreement
(collectively, the “Claims”). The Transaction Entities further agree that Issuer shall not
commence, institute, or prosecute any lawsuit, action, or other proceeding, whether judicial,
administrative, or otherwise, to collect or enforce any Claim.

       8.      Indemnification. The Transaction Entities hereby expressly acknowledge, agree,
and reaffirm their indemnification obligations to Purchasers and the other Indemnitees as set forth
in Section 15 of each of the Note Purchase Agreements. The Transaction Entities further
acknowledge, agree, and reaffirm that all such indemnification obligations set forth in Section 15
of each of the Note Purchase Agreements shall survive the expiration of the Forbearance Period
and the termination of this Agreement, each of the Note Purchase Agreements, the other NPA
Documents, and the payment in full of the obligations pursuant to the Notes. Notwithstanding the
foregoing, such indemnity shall not be available to the extent that such claims, damages, losses,


DMS_US.365842454.9
Case 24-10901        Doc 35-13     Filed 10/28/24      Entered 10/28/24 20:07:40         Page 7 of 35




liabilities, or related expenses result solely from a Purchaser or other Releasee’s gross negligence
or willful misconduct.

        9.     Forbearance Default. The occurrence of one or more of the following shall
constitute a “Forbearance Default” under this Agreement:

               9.1     The occurrence of the Termination Date.

               9.2    The Transaction Entities shall fail to abide by or observe any term,
condition, covenant, or other provision contained in this Agreement or any document related to or
executed in connection with this Agreement.

                9.3    A default or event of default shall occur under any NPA Document or any
document related to or executed in connection with this Agreement or any of the NPA Documents
(other than the Existing Defaults).

                 9.4     Any Guarantor ceases to exist or revokes or terminates its liability under its
Guarantee, or challenges the validity or enforceability of its Guarantee, or denies any further
liability or obligation thereunder.

               9.5     Any Transaction Entity:

                       (a)     Intentionally Omitted

                       (b)     (i) commences any case, proceeding, or other action under any
existing or future Requirement of Law relating to bankruptcy, insolvency, reorganization, or other
relief of debtors, seeking (A) to have an order for relief entered with respect to it, or (B) to
adjudicate it as bankrupt or insolvent, or (C) reorganization, arrangement, adjustment, winding-
up, liquidation, dissolution, composition, or other relief with respect to it or its debts, or
(D) appointment of a receiver, trustee, custodian, conservator, or other similar official for it or for
all or any substantial part of its assets, or (ii) makes a general assignment for the benefit of its
creditors;

                       (c)      has commenced against it in a court of competent jurisdiction any
case, proceeding, or other action of a nature referred to in clause (c) above which (i) results in the
entry of an order for relief or any such adjudication or appointment or (ii) remains undismissed,
undischarged, unstayed, or unbonded for 60 days; or

                       (d)     ceases to conduct business in the ordinary course.

               9.6     Any Transaction Entity, or any of their respective creditors commences a
case, proceeding, or other action against any Purchaser relating to any of the obligations pursuant
to the Notes, NPA Documents, this Agreement, or any action or omission by Purchasers or their
agents in connection with any of the foregoing.

                9.7     Any representation or warranty of the Transaction Entities made herein
shall be false, misleading, or incorrect in any material respect when made.



DMS_US.365842454.9
Case 24-10901        Doc 35-13     Filed 10/28/24     Entered 10/28/24 20:07:40          Page 8 of 35




                9.8     Any entity takes any collection action, including without limitation
garnishing of bank accounts, levy and execution against personal property, recording or otherwise
imposing of liens against real or personal property, and foreclosure proceedings (whether or not
by way of court proceeding), against any of the assets or other property of any of the Transaction
Entities that seeks to collect on a debt in excess of $100,000.

               9.9    Any Transaction Entity takes an action, or any event or condition occurs or
exists, which Purchasers reasonably believe in good faith is inconsistent in any material respect
with any provision of this Agreement, or impairs, or is likely to impair, the prospect of payment
or performance by Issuer of its obligations under this Agreement or any of the NPA Documents.

               9.10    A default or event of default shall occur under any obligation owed to the
Lender.

       10.     Remedies. Immediately upon the occurrence of a Forbearance Default:

                10.1 The Forbearance Period shall immediately and automatically cease without
notice or further action without notice to, or action by, any party.

               10.2 The Purchasers shall be entitled to exercise any or all of their rights and
remedies under the NPA Documents, this Agreement, or any stipulations or other documents
executed in connection with or related to this Agreement or any of the NPA Documents, or
applicable law, including, without limitation, the appointment of a receiver.

       11.     Miscellaneous.

                11.1 Notices. Any notices with respect to this Agreement shall be given in the
manner provided for in Section 18 of each of the Note Purchase Agreements. The Transaction
Entities shall promptly provide any updates to those notice provisions.

                11.2 Integration; Modification of Agreement. This Agreement and the NPA
Documents embody the entire understanding between the parties hereto and supersedes all prior
agreements and understandings (whether written or oral) relating to the subject matter hereof and
thereof. The terms of this Agreement may not be waived, modified, altered, or amended except by
agreement in writing signed by all the parties hereto. This Agreement shall not be construed against
the drafter hereof.

               11.3 Severability. If any term or provision of this Agreement is invalid, illegal,
or unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability shall not affect
any other term or provision of this Agreement or invalidate or render unenforceable such term or
provision in any other jurisdiction.

               11.4 Full Force and Effect. The NPA Documents shall remain unchanged, in full
force and effect and continue to govern and control the relationship between the parties hereto,
except to the extent they are inconsistent with, superseded, or expressly modified herein. To the
extent of any inconsistency, amendment, or superseding provision, this Agreement shall govern
and control.


DMS_US.365842454.9
Case 24-10901        Doc 35-13    Filed 10/28/24     Entered 10/28/24 20:07:40        Page 9 of 35




                11.5 Successors and Assigns. This Agreement is binding upon and shall inure to
the benefit of the parties hereto and their respective heirs, successors, and assigns, provided that
the Transaction Entities’ rights under this Agreement are not assignable. The Purchasers may
assign their rights and interests in this Agreement, the NPA Documents, and all documents
executed in connection with or related to this Agreement or the NPA Documents, at any time
without the consent of or notice to the Transaction Entities.

              11.6 Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of New York without regard to conflict of laws principles
thereof.

               11.7 No Waiver. No failure to exercise and no delay in exercising, on the part of
the Purchasers any right, remedy, power, or privilege hereunder or under the NPA Documents
shall operate as a waiver thereof; nor shall any single or partial exercise of any right, remedy,
power, or privilege hereunder preclude any other or further exercise thereof or the exercise of any
other right, remedy, power, or privilege. Further, the Purchasers’ acceptance of payment on
account of the obligations pursuant to the Notes or other performance by the Transaction Entities
after the occurrence of an Event of Default shall not be construed as a waiver of such Event of
Default, any other Event of Default, or any of the Purchasers’ rights or remedies.

               11.8 Cumulative Rights. The rights, remedies, powers, and privileges herein
provided are cumulative and not exclusive of any rights, remedies, powers, and privileges provided
by law.

                11.9 Recommendation of Counsel. The Transaction Entities acknowledge that
the Purchasers have recommended that they each consult with counsel prior to execution of this
Agreement and represent that they either have done so or have knowingly waived the right to do
so despite the express recommendation of the Purchasers.

               11.10 Consent to Jurisdiction; Venue; Service of Process.

                       (a)     Consent to Jurisdiction. The Transaction Entities each hereby
irrevocably and unconditionally consent to the exclusive jurisdiction of the United States District
Court for the Southern District of New York and of all New York state courts, for the purpose of
bringing any litigation, actions, or proceedings in any manner relating to or arising out of this
Agreement or any of the NPA Documents. Nothing herein or in any NPA Document shall affect
any right that the Purchasers may otherwise have to bring any action or proceeding relating to this
Agreement or any NPA Document against the Transaction Entities or its properties in the courts
of any jurisdiction.

                       (b)     Waiver of Venue. The Transaction Entities hereby each waive any
objection they may now or hereafter have to the laying of venue in such court and irrevocably
waive, to the fullest extent permitted by applicable law, the defense of forum non conveniens to
the maintenance of such action or proceeding in any such court.

                      (c)     Service of Process. The Transaction Entities each hereby
irrevocably consent to the service of process by certified or registered mail sent to the address


DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24     Entered 10/28/24 20:07:40        Page 10 of 35




 provided for notices in Section 11.1 and agree that nothing herein will affect the right of the
 Purchasers to serve process in any other manner permitted by applicable law.

            11.11 Waiver of Jury Trial. EACH PARTY HERETO HEREBY
 IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
 LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING
 DIRECTLY OR INDIRECTLY RELATING TO THIS AGREEMENT OR ANY NPA
 DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY
 WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY. EACH PARTY
 HERETO (A) CERTIFIES THAT NO AGENT, ATTORNEY, REPRESENTATIVE, OR ANY
 OTHER PERSON HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
 OTHER PERSON WOULD NOT SEEK TO ENFORCE THE FOREGOING WAIVER IN THE
 EVENT OF LITIGATION, AND (B) ACKNOWLEDGES THAT THIS WAIVER IS A
 MATERIAL INDUCEMENT TO ENTER INTO THIS AGREEMENT.

                 11.12 Reimbursement of Costs and Expenses. Each of the Transaction Entities
 agree to pay all reasonable costs, fees, and expenses of the Purchasers (including attorneys’ fees),
 expended or incurred by the Purchasers in connection with the negotiation, preparation,
 administration, and enforcement of this Agreement, the NPA Documents, the Notes, and all fees,
 costs, and expenses incurred in connection with any bankruptcy or insolvency proceeding
 (including, without limitation, any adversary proceeding, contested matter, or motion brought by
 the Purchasers or any other person). Without in any way limiting the foregoing, the Transaction
 Entities hereby reaffirm their agreement under the applicable NPA Documents to pay or reimburse
 the Purchasers for certain costs and expenses incurred by the Purchasers. In addition, and for the
 avoidance of doubt, the Transaction Entities shall promptly pay (i) the reasonable attorneys’ fees
 and costs incurred by Faegre Drinker Biddle & Reath LLP, as counsel to the Purchasers, from
 March 1, 2024 and continue to pay such fees and costs on a monthly basis and (ii) the reasonable
 fees and costs incurred by IslandDundon, as financial advisor to the Purchasers, from June 1, 2024
 and continue to pay such fees and costs on a monthly basis. Furthermore, and for the avoidance of
 doubt, the Transaction Entities and the Purchasers acknowledge that the engagement letter (the
 “Piper Sandler Engagement Letter”) entered into among the Issuer, the Parent Guarantor and Piper
 Sandler & Co. (“Piper Sandler”), dated as of March 4, 2024, shall remain in full and effect, and
 the Transaction Entities shall promptly pay any fees and/or expenses due and payable to Piper
 Sandler pursuant to such Piper Sandler Engagement Letter. The Transaction Entities are jointly
 and severally liable for their obligations under this Section 11.12 and, anything to the contrary
 herein notwithstanding, each of Faegre Drinker, Biddle & Reath LLC, IslandDundon and Piper
 Sandler are third party beneficiaries of this provision of this Agreement.

                 11.13 Headings. The section headings in this Agreement are for reference only
 and shall not affect the interpretation of this Agreement.

                 11.14 Counterparts; Electronic Execution. This Agreement may be executed in
 any number of counterparts, each of which shall be an original, and all of which together shall
 constitute one and the same instrument. Delivery of an executed counterpart of a signature page to
 this Agreement by facsimile or in electronic (i.e., “pdf” or “tif”) format shall be effective as
 delivery of a manually executed counterpart of this Agreement.



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Case 24-10901         Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 11 of 35



                                   [SIGNATURE PAGE FOLLOWS]




 DMS_US.365842454.9
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 12 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 13 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 14 of 35
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40   Page 15 of 35




                                                   GRANITE RE, INC.
                                                   By_____________________
                                                   Name:
                                                   Title:


                                                   THE CINCINNATI INSURANCE
                                                   COMPANY

                                                   By
                                                   Name: Michael R. Abrams
                                                   Title: Vice President


                                                   CINCINNATI LIFE INSURANCE
                                                   COMPANY

                                                   By
                                                   Name: Michael R. Abrams
                                                   Title: Vice President


                                                   SAGICOR LIFE INSURANCE
                                                   By_____________________
                                                   Name:
                                                   Title:


                                                   WESTERN CATHOLIC UNION
                                                   By_____________________
                                                   Name:
                                                   Title:


                                                   CATHOLIC FRATERNAL LIFE f/k/a
                                                   CATHOLIC HOLY FAMILY LIFE
                                                   By_____________________
                                                   Name:
                                                   Title:


 DMS_US.365607462.6
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 16 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 17 of 35
Case 24-10901       Doc 35-13   Filed 10/28/24       Entered 10/28/24 20:07:40   Page 18 of 35




                                                 GR-ANITE RE. INC.
                                                 B

                                                 Name:
                                                 Title:


                                                 THE CINCINNATI INSURANCE
                                                 COMPANY


                                                 Name:
                                                 Title:


                                                 CINCINNATI LIFE INSURANCE
                                                 COMPANY
                                                 By
                                                 Name:
                                                 Title:


                                                 SAGICOR I-IFE INSURANCE
                                                 B

                                                 Name:
                                                 Title:


                                                 WESTERN CATHOLIC UNION
                                                 By
                                                 Name:
                                                 Title:


                                                 CATHOLIC FRATERNAL LIFE fikla
                                                 CATHOLIC HOLY FAMILY
                                                 By
                                                 Name:     o{ &uouq,zo
                                                 Title: fue"f 48r'


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Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 19 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 20 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 21 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 22 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 23 of 35
Case 24-10901   Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 24 of 35
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40    Page 25 of 35




                                                   Name:
                                                   Title:


                                                   BAR HARBOR BANK & TRUST
                                                   By_____________________
                                                   Name:
                                                   Title:


                                                   NEXANNUITY ASSET MANAGEMENT,
                                                   L.P.
                                                   By_____________________
                                                   Name:
                                                   Title:


                                                   ISSUER:
                                                   CROWN CAPITAL HOLDINGS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   PARENT GUARANTOR:
                                                   CBRM REALTY INC.
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   SUBSIDIARY GUARANTORS:
                                                   RH NEW ORLEANS HOLDINGS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40    Page 26 of 35




                                                   NBA NEW ORLEANS HOLDINGS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   BERGENFIELD INVESTORS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   STONEBRIDGE PARTNER LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   RAYLBNT LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   PAR MANAGER I LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   RSBRM APTS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory



 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40      Page 27 of 35




                                                   RNBF HOLDINGS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




                                                   SUMMERSET VILLAS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   CROWN CAPITAL PARTNERS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




                                                   CARRIAGE HOUSE APTS MM LLC
                                                   By_____________________
                                                   Name:Mark Silber
                                                   Title:   Authorized Signatory


                                                   RE STERLINGWOOD APTS MM LLC
                                                   By_____________________
                                                   Name:    Mark Silber




 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40    Page 28 of 35




                                                   Title: Authorized Signatory


                                                   RHODIUM CT GP LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




                                                   RHODIUM CT LP LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   RHODIUM FC CT LP
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   RH FC 14 CT GP LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   CROWN CAPITAL HOLDINGS SPV LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title:
                                                          Authorized Signatory

                                                   SYCAMORE MEADOWS APTS PARTNER
                                                   LLC

 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40       Page 29 of 35




                                                   By_____________________
                                                   Name:
                                                            Mark Silber
                                                   Title:
                                                             Authorized Signatory

                                                   CHAPEL RIDGE APTS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




                                                   SLIDELL APARTMENTS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   HIGHLAND PARK APTS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   EVERGREEN APTS PARTNER LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40      Page 30 of 35




                                                   COVINGTON PARK APTS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   COPPER RIDGE APTS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




                                                   MAGNOLIA TRACE APTS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   MAIDEN HOLDINGS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title:   Authorized Signatory


                                                   RECTOR INVESTMENTS LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   LAUREL HOLDCO LLC
                                                   By_____________________


 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24    Entered 10/28/24 20:07:40    Page 31 of 35




                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   TRINITY PARTNER LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory


                                                   GREYSTONE APTS MM LLC
                                                   By_____________________
                                                   Name: Mark Silber
                                                   Title: Authorized Signatory




 DMS_US.365842454.9
Case 24-10901         Doc 35-13   Filed 10/28/24   Entered 10/28/24 20:07:40   Page 32 of 35




                                        SCHEDULE A
                                  SUBSIDIARY GUARANTORS

                           RH NEW ORLEANS HOLDINGS MM LLC
                            NBA NEW ORLEANS HOLDINGS LLC
                              BERGENFIELD INVESTORS LLC
                               STONEBRIDGE PARTNER LLC
                                    RAYLBNT LLC
                                  PAR MANAGER I LLC
                                   RSBRM APTS LLC
                                  RNBF HOLDINGS LLC
                               SUMMERSET VILLAS MM LLC
                             CROWN CAPITAL PARTNERS LLC

                             CARRIAGE HOUSE APTS MM LLC
                            RE STERLINGWOOD APTS MM LLC
                                  RHODIUM CT GP LLC
                                  RHODIUM CT LP LLC
                                   RHODIUM FC CT LP
                                  RH FC 14 CT GP LLC
                           CROWN CAPITAL HOLDINGS SPV LLC
                         SYCAMORE MEADOWS APTS PARTNER LLC
                              CHAPEL RIDGE APTS MM LLC
                             SLIDELL APARTMENTS MM LLC
                             HIGHLAND PARK APTS MM LLC
                             EVERGREEN APTS PARTNER LLC

                               COVINGTON PARK APTS LLC
                               COPPER RIDGE APTS MM LLC
                              MAGNOLIA TRACE APTS MM LLC
                                 MAIDEN HOLDINGS LLC
                                RECTOR INVESTMENTS LLC
                                  LAUREL HOLDCO LLC
                                  TRINITY PARTNER LLC
                                GREYSTONE APTS MM LLC




 DMS_US.365842454.9
Case 24-10901         Doc 35-13    Filed 10/28/24      Entered 10/28/24 20:07:40   Page 33 of 35




                                     SCHEDULE B
                        FINANCIAL AND INFORMATION REPORTING

 Initial Information

    Historical Financial Statement (Audited, if available)
         o Balance Sheet
         o Income Statement
         o Cashﬂow Statement
         o L12M Monthly Bank Statements

    Bank Information
        o List of bank and bank accounts
        o Monthly bank statements for the past two years
        o Wire transfer information for the past two years



    Financial projections (if any) prepared by Piper Sandler

    Asset level detail for company’s holdings/portfolio
        o Property
                  Asset type
                  Property address
                  Property manager and contact information
                  Programming and number of units by unit type
        o Valuation
                  Most recently appraised value / Valuation date
                  Valuation provider
        o L12M operations
                  Occupancy
                  Average rent
        o 1 Lien Debt (Mortgage)
              st

                  Unpaid principal balance
                  Lender’s name
                  Maturity date / Extension option
                  Delinquency Status (i.e., number of day delinquent)
                  Previous modiﬁcations
        o Subordinate or Other Debt
                  Unpaid principal balance
                  Lender’s name
                  Maturity date / Extension option
                  Delinquency Status (i.e., number of days delinquent)
                  Security Interest / Collateral (i.e., Secured or Unsecured)
                  Previous modiﬁcations


 DMS_US.365842454.9
Case 24-10901         Doc 35-13      Filed 10/28/24       Entered 10/28/24 20:07:40      Page 34 of 35



                     Any litigation or collection activities
        o   Taxes
                     Assessed value
                     Estimated quarterly payment
                     Unpaid taxes
    Debt
        o   Information concerning all debt or liabilities of the Transaction Entities, whether or not
            contingent, unliquidated or disputed

    Insurance Policies
         o Unpaid premiums

    Property Taxes/Unpaid Taxes

    Other Accounts Payables (with aging)



    Title Reports


 Periodic / Recurring Information

    Asset Level Operating Statements
        o Rent
        o Net Operating Income
        o Net Cash Flow

    Mortgage Reporting
        o Same reporting requirements as mortgage lenders
        o Modiﬁcation to any mortgage loans
        o Notices from lenders

    Property budgets and variance reporting, as prepared in the ordinary course



    Monthly Rent Rolls

    Monthly Bank Statements

    Quarterly Schedule of Taxes and Insurance showing Proof of Payment

    Quarterly Schedule of Prepaid Rent




 DMS_US.365842454.9
Case 24-10901         Doc 35-13    Filed 10/28/24      Entered 10/28/24 20:07:40          Page 35 of 35




                                             SCHEDULE C


                                           Existing Liabilities
            Lender                Description               Property               Amount
       CKD Funding LLC     Existing Loan              RH Windrun LLC*              1,360,546.13

       CKD Funding LLC     Existing Loan              RH Lakewind East LLC*        1,360,546.13

       CKD Funding LLC     Existing Loan              RH Copper Creek LLC *        1,360,546.13

       DH1 Holdings LLC    Existing Loan              RH Chenault Creek LLC*       1,360,546.13


       Senior Loan                                                             5,442,184.52
                                                                                 *NOLA - 4 Properties




                                       Contingent Liabilties
       CKD Investor Penn
       LLC                 Bankwell PG upon Loss      NOLA - 4                   26,500,000.00

       Contingent                                                                26,500,000.00




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